     Case: 1:07-cr-00047-DMB-DAS Doc #: 72 Filed: 10/01/07 1 of 2 PageID #: 132




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                      CRIMINAL ACTION NO. 1:07CR47


CARL MARTIN ADAMS, TOBY GLEN PARKER
AND TOMMY RAY CREEKMORE


                                              ORDER

        This cause is before the Court on defendant Parker’s Motion for Extension of Deadlines and

Continuance of Trial Date [61]. The Court, having reviewed the motion and being otherwise fully

advised in the premises, finds as follows, to-wit:

        The defendant seeks a continuance of the trial set to commence on October 22, 2007. In

support of the motion, defense counsel avers that, for various reasons, he has been unable to meet

with his client and that he is scheduled to appear in Lee County Chancery Court on the scheduled

trial date.

        After due consideration of the matter, the Court is of the firm conviction that a continuance

is unwarranted under the facts before the Court. Review of the record reveals that this Court has

granted two prior motions for continuance upon motion of Parker’s co-defendants. Defense counsel

has had ample opportunity to meet with his client and prepare his case. In addition, counsel does

not represent in the instant motion that his conflicting setting in chancery court is a prior setting;

accordingly, this Court is under no compunction to grant a motion to continue upon that alternative

ground. Accordingly, the Court concludes that the defendant’s motion is not well-taken and should
     Case: 1:07-cr-00047-DMB-DAS Doc #: 72 Filed: 10/01/07 2 of 2 PageID #: 133




be denied. This matter will proceed to trial as previously scheduled on October 22, 2007.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that the defendant’s Motion for

Extension of Deadlines and Continuance of Trial Date [61] is not well-taken and should be, and

hereby is, DENIED.

       SO ORDERED, this the 1st day of October, 2007.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE
